
Turley, J.
delivered the opinion of the court.
This bill is filed by the complainant; to enjoin the defendants from enforcing' judgments at law, obtained by them against Wm. Ament, by the.sale of certain negroes, claimed to have been bought by one. John W. McDaniel from said Ament, and bequeathed by him to the complainant. The deed from Ament to McDaniel is attacked for fraud; they insisting that it was merely colorable, and made of purpose, to hinder and delay the creditors of said Ament in the collection of their just debts. And of the truth of this proposition, the court has no doubt whatever: the proof most abundantly sustains the charge, and to enter into an argument to prove it, would be not only useless but preposterous. But it is attempted on the part of the complainant, to get rid of this difficulty, by attacking the rights of the defendants to subject this property to their executions upon two grounds.
1st. That if they are creditors of Ament, that he having taken the benefit of the act of bankruptcy,, can have no effects liable to their executions, their debts having been due before he obtained his discharge.
2d. That the executions of some of the defendants were functus officio before levy, and therefore created no lien upon the property.
Out of these two objections to thedefe-ndants’claims, several questions of law, of much difficulty and perplexity, have arisen, but we are not only freed from the necessity of determining them here, but believe it would not be proper to-do so, bpcause the complainant’s right having originated in a gross and palpable fraud, she must be repelled from a Court of Chan-*332eery, which will never lend its aid to enforce or protect claims so originating; and because there is no cross bill on the part of the defendants, asking that the cloud which rests upon them, by reason of the fraudulent deed of conveyance, be removed.
We, therefore, dissolve the injunction, heretofore granted in this case, dismiss the bill of the complainant, and leave the parties to their appropriate remedies at law.
